      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 1 of 39




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

FAIR FIGHT ACTION, INC., et al.,

       Plaintiffs,

v.                                             Civil Action File

BRAD RAFFENSPERGER, in his                     No. 1:18-cv-05391-SCJ
official Capacity as Secretary of
State of Georgia; et al.,

       Defendants.


                      ATTACHMENT H-2
             DEFENDANTS’ PRELIMINARY TRIAL BRIEF

      Pursuant to LR 16.4 and for the Court’s convenience, Defendants

hereby submit this trial brief containing citations to legal authority on

evidentiary questions and other legal issues that may arise at trial.

Defendants reserve the right to amend and/or supplement this trial brief, and

any other portion of the pretrial order, as necessary and in accordance with

paragraph 14 of the Court’s November 30, 2021 Order. Doc. No. [641].

                              INTRODUCTION

      In what appears now to be the beginning of a trend, Plaintiffs filed this

action in 2018 after their preferred candidate for Governor (and candidate

once more) Stacey Abrams lost to Governor Brian Kemp. Since 2018,
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 2 of 39




Plaintiffs have raised tens of millions of dollars by imploring donors that

their money is necessary to fight the “secretary of suppression,” and

“architect of disenfranchisement,” while still defending the 2020 elections

when their preferred candidates (and litigants in this lawsuit) won. This is

no accident; Fair Fight first poll-tested the phrase “voter suppression” back in

2014 and found that this highly charged but ambiguous phrase was very

motivational for its target audience. Others have benefited from this as well.

Rev. Raphael Warnock, of Plaintiff Ebenezer Baptist Church, is now Senator

Warnock, and former State Senator and Plaintiff Care in Action

representative Nikema Williams is now Congresswoman Williams.

      As an actual lawsuit, however, this action has been less successful for

Plaintiffs. Where once Plaintiffs’ claims covered virtually every aspect of

elections conducted in Georgia, the Court’s orders at summary judgment have

rightly dispensed with most of Plaintiffs’ claims. Plaintiffs’ remaining claims

address, at most, three issues involving Georgia elections. First, Plaintiffs

allege that the Defendant Secretary provided insufficient training to county

registrars and election superintendents regarding absentee ballot in-person

cancellation procedures. Second, Plaintiffs allege that the Defendant

Secretary has failed in his duty to sufficiently maintain an “accurate voter

registration list.” (The first and second issues are collectively referred to

                                        2
        Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 3 of 39




herein as Plaintiffs’ “Administrative Claims”). Lastly, Plaintiffs challenge

the State’s implementation of the verification procedures set forth in the Help

America Vote Act (“HAVA”), whereby information provided by individuals

registering to vote is cross-referenced with information on file with the

Georgia Department of Driver Services (“DDS”) or United States Social

Security Administration (“SSA”), as required by 52 U.S.C. § 21083(a)(5)

(“HAVA Match” a/k/a “Exact Match”). Consistent with the statutes and case

law identified herein, and without the benefit of a deferential review of the

evidence, Plaintiffs’ remaining claims go the way of the rest of them: failure.

           DEFENDANTS’ CITATIONS TO LEGAL AUTHORITY

   I.      Jurisdictional and Standing Issues.

        A threshold issue to be examined at trial is Plaintiffs’ lack of standing

to bring the remaining claims. As the Court is aware, standing must be

established at each stage of the litigation. The below legal authority

establishes that Plaintiffs cannot do so here.

           a. Plaintiffs’ claim regarding absentee ballot cancellation training is
              moot.

        At the outset, at least one of Plaintiffs’ claims stands to be dismissed as

moot prior to trial. In its Summary Judgment Order, the Court found that a

single training issue, regarding training of county officials on in-person


                                         3
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 4 of 39




absentee ballot cancellation procedures, could conceivably be traced to the

Secretary of State. Doc. No. [617] at 36. The Court’s decisions was due to the

fact that, although poll worker training is exclusively handled at the county

level, the Secretary provides a manual used to train poll workers and that

manual did not possess updated information to account for the new

procedures set forth in HB 316 as of April 2020. Doc. No. [617] at 32-33.

      The most recent manual, however, specifically addresses in-person

absentee ballot cancellation procedures as set forth in HB 316. (Georgia Poll

Worker Manual 2021 at 55-56; available at:

https://georgiapollworkers.sos.ga.gov/Shared%20Documents/Georgia%20Poll

%20Worker%20Manual%202021.pdf). 1 Thus, at present, there is no evidence

to show that any voter’s inability to cancel an absentee ballot in person is or

could be traceable to Defendants. The issue is moot.

      Mootness is a threshold jurisdictional issue that may be raised at any

point during proceedings. Cole v. Nat'l Collegiate Athletic Ass’n, 120 F. Supp.

2d 1060, 1068 (N.D. Ga. 2000) (“The Constitution’s case or controversy

requirement mandates that the case be viable at all stages of the litigation; it




1The 2021 Georgia Poll Worker Manual is also included as Exhibit 309 of
Defendants’ Exhibit List and Exhibit 1315 of Plaintiffs’ Exhibit List.

                                       4
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 5 of 39




is not sufficient that the controversy was live only at its inception.”)

(quotations omitted). “A case is moot when events subsequent to the

commencement of a lawsuit create a situation in which the court can no

longer give the plaintiff meaningful relief.” Jews for Jesus, Inc. v.

Hillsborough Cty. Aviation Auth., 162 F.3d 627, 629 (11th Cir. 1998). And

here, because Plaintiffs are limited to prospective injunctive relief, see

Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 105–106 (1984),

the Court cannot order any relief beyond what the State has already done.

Accordingly, Plaintiffs’ claims regarding training of county officials regarding

in-person absentee ballot cancellation must be dismissed for lack of

jurisdiction. United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1537 (2018) (“A

case that becomes moot at any point during the proceedings is “no longer a

‘Case’ or ‘Controversy’ for purposes of Article III,” and is outside the

jurisdiction of the federal courts.”) (quoting Already, LLC v. Nike, Inc., 568

U.S. 85, 91 (2013)).

         b. Plaintiffs lack standing because they have not suffered any injury.

      Federal courts may decide only active “cases” and “controversies.” U.S.

Const. art. III, § 2. To establish standing to present a case or controversy, a

litigant must prove: “(1) an injury in fact that (2) is fairly traceable to the

challenged action of the defendant and (3) is likely to be redressed by a

                                         5
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 6 of 39




favorable decision.” Jacobson v. Fla Sec’y, 974 F.3d 1236, 1245 (11th Cir.

2020) citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61, 112 S. Ct. 2130,

119 L. Ed. 2d 351 (1992); U.S. v. Amodeo, 916 F.3d 967, 971 (11th Cir. 2019).

“‘[E]ach element must be supported . . . with the manner and degree of

evidence required at the successive stages of the litigation.’” Jacobson, 974

F.3d at 1245 (quoting Lujan, 504 U.S. at 561). The plaintiffs in this litigation

cannot establish any of those elements with admissible evidence.

      Organizational plaintiffs making such claims must prove that

counteracting the defendant’s allegedly illegal acts required diversion of

either financial resources or its personnel’s time and energy. Arcia v. Sec’y of

Fla., 772 F.3d 1335, 1341 (11th Cir. 2014); Common Cause of Ga. v. Billups,

554 F.3d 1340, 1350 (11th Cir. 2009). And, the diversion of resources must be

linked to the specific harms alleged. See, e.g., Fla. State Conf. of N.A.A.C.P. v.

Browning, 522 F.3d 1153, 1165 (11th Cir. 2008) (“organization has standing

to sue on its own behalf if the defendant’s illegal acts impair its ability to

engage in its projects by forcing the organization to divert resources to

counteract those illegal acts.”) (emphasis added). At this stage of the case,

Plaintiffs must sustain their burden of proof with trial-worthy evidence,

Lujan, 504 U.S. at 561, which must show an injury—in this case diversion of

resources—as of the time that the plaintiffs filed their complaint. A&M

                                         6
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 7 of 39




Gerber Chiropractic LLC v. Geico Gen. Ins. Co., 925 F.3d 1205, 1212 (11th

Cir. 2019); Arcia, 772 F.3d at 1340; Focus on the Family v. Pinellas Suncoast

Transit Auth., 344 F.3d 1263, 1275 (11th Cir. 2003).

      Further, each plaintiff must be more than just a “concerned bystander”

who is interested in a problem—the plaintiff must show that the injury is

distinct to that plaintiff. Gardner v. Mutz, 962 F.3d 1329, 1343 (11th Cir.

2020) (no injury when only generalized interest in preserving history); see

also Arcia, 772 F.3d at 1342 (“[A]bstract social interest[s]” cannot establish a

concrete injury in fact); Nat’l Treasury Emps. Union v. United States, 101

F.3d 1423, 1429 (D.C. Cir. 1996) (“abstract concern . . . does not impart

standing.”). “[A] mere ‘interest in a problem,’ no matter how longstanding

the interest and no matter how qualified [an] organization is in evaluating

the problem, is not sufficient by itself.” Gardner, 962 F.3d at 1341 (11th Cir.

2020) (quotations omitted), quoting Sierra Club v. Morton, 405 U.S. 727, 739

(1972). And standing must exist “for each claim and . . . for each form of relief

that is sought.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650,

198 L. Ed. 2d 64 (2017). Other circuit courts and another district court within

this circuit have recognized the particularity requirement as mandating that

an organization demonstrate that “the asserted illegal acts are in conflict

with the organization’s mission.” People for the Ethical Treatment of Animals,

                                        7
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 8 of 39




Inc. v. Miami Seaquarium, 189 F. Supp. 3d 1327, 1337-38 (S.D. Fla. 2016)

(citing Arcia, 772 F.3d at 1342) (finding standing where PETA protests

against captivity of a whale and efforts to secure its release “impaired its

mission of protecting animals from abuse through legislative and educational

efforts”); see also Nat’l Treasury Emps. Union v. U.S., 101 F.3d 1423, 1430

(D.C. Cir. 1996) (if the conduct “does not directly conflict with the

organization’s mission,” the claimed injury is likely shared by many citizens

and thus insufficient).

      Finally, while a conflict with the mission of the organization is

necessary to confer standing, it is not sufficient. Id. at 1429 (“Individual

persons cannot obtain judicial review of otherwise non-justiciable claims

simply by incorporating, drafting a mission statement, and then suing on

behalf of the newly formed and extremely interested organization.”).

Litigation expenses cannot be used to impart standing on an organization. Id.

at 1434. Plaintiffs cannot claim injury simply by diverting resources to new

initiatives. They must identify what activities they must “divert resources

away from in order to spend additional resources” combatting the specific

policy or law at issue. Jacobson, 974 F.3d at 1250 (emphasis in original).

Furthermore, they must demonstrate a concrete injury such as perceptible

impairment of organizational activities or daily operations, Food & Water

                                        8
      Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 9 of 39




Watch, Inc. v. Vilsack, 808 F.3d 905, 919-21 (D.C. Cir. 2015), or diverted

resources “beyond those normally expended,” Cigar Ass’n of Am. v. U.S., 323

F.R.D. 54, 63 (D.C. Dist. 2017). Accord, Ga. Republican Party v. SEC, 888

F.3d 1198, 1203 (11th Cir. 2018) (no evidence that plaintiff was forced to

divert resources, “let alone that such diversion impairs the Party.”); Ga.

Latino Alliance for Human Rights v. Deal, 691 F.3d 1250, 1260 (11th Cir.

2012) (challenged legislation “has strained [plaintiff’s] limited resources and

will continue to do so”).

         c. Plaintiffs lack standing to challenge practices that are not
            traceable to, or redressable by, Defendants.

      As the Eleventh Circuit recently explained, “[t]o satisfy the causation

requirement of standing, a plaintiff’s injury must be ‘fairly traceable to the

challenged action of the defendant, and not the result of the independent

action of some third party not before the court.’” Jacobson, 974 F.3d at 1253

quoting Lujan, 504 U.S. at 560. Further, “it must be the effect of the court’s

judgment on the defendant—not an absent third party—that redresses the

plaintiff’s injury, whether directly or indirectly.” Lewis v. Governor of Ala.,

944 F.3d 1287, 1301 (11th Cir. 2019) (en banc) (internal quotations omitted).

      “[F]ederal courts have no authority to erase a duly enacted law from

the statute books.” Jacobson, 974 F. 3d at 1255, quoting Jonathan F.


                                        9
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 10 of 39




Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 936 (2018). And

even a “favorable declaratory judgment . . . cannot make [] an

unconstitutional statute disappear.” Steffel v. Thompson, 415 U.S. 452, 469

(1974). Thus, while this Court may “enjoin executive officials from taking

steps to enforce a statute,” Mitchell, supra at 936, it may “exercise that power

only when the officials who enforce the challenged statute are properly made

parties to a suit,” Jacobson, 974 F. 3d at 1255. 2 This is because “a federal

court exercising its equitable authority may enjoin named defendants from

taking specified unlawful actions. But under traditional equitable principles,

no court may ‘lawfully enjoin the world at large,’” Whole Woman’s Health v.

Jackson, No. 21-463, 2021 U.S. LEXIS 6144, at *23 (Dec. 10, 2021), and

especially not “absent nonparties,” Jacobson, 974 F. 3d at 1254.

      Plaintiffs’ failure to sue the entities that can remedy their alleged

harms, namely county boards of elections, could lead to “arbitrary and

disparate treatment to voters in its different counties.” Bush v. Gore, 531 U.S.




2 Unlike Georgia law, the Florida law considered in Jacobson empowered its
Secretary of State to redress the alleged harm required the Florida Secretary
to “[o]btain and maintain uniformity in the interpretation and implementation
of the election laws” and to “[p]rovide written direction and opinions to the
supervisors of elections,” Fla. Stat. § 97.012, and the Eleventh Circuit found
even that insufficient to establish traceability or redressability.

                                       10
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 11 of 39




98, 107, 121 S. Ct. 525 (2000). Some counties would defer to Defendants’

directions, while others would simply continue to follow the law as it exists. 3

Jacobson, 974 F. 3d at 1255; see also Friedman v. Snipes, 345 F. Supp. 2d

1356, 1381 (S.D. Fla. 2004).

      A federal court cannot apply declaratory relief or an injunction to those

“who are not parties to this action.” Jacobson, 974 F. 3d at 1254. And even if

this Court attempted to extend its ruling to counties not presently before it,

they are in no way “obliged . . . in any binding sense . . . to honor an

incidental legal determination [this] suit produce[s].” Lewis, 944 F. 3d at

1302 (internal quotation marks omitted).

      As to Plaintiffs’ list-accuracy claim, the Court correctly noted that, “in

practice, updates to the voter registration rolls are made at the county (not

state) level.” Doc No. [612] at 43. Indeed, this is set forth by statute:

      “It shall be the duty of the county board of registrars to determine
      the eligibility of each person applying to register to vote in such
      county. […] Upon finding an elector eligible to vote in the county,
      the county board of registrars shall have the duty of determining
      and placing the elector in the proper congressional district; state

3 An earlier case that predates Jacobson and the en banc decision in Lewis,
Grizzle v. Kemp, 634 F.3d 1314, 1319 (11th Cir. 2011), was decided only under
a proper-party analysis and did not consider standing, making it a “drive-by
jurisdictional ruling[]” that either has no precedential effect or is limited to the
proper-party context. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 91,
118 S. Ct. 1003, 1011 (1998).

                                        11
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 12 of 39




      Senate district; state House district; county commission district, if
      any; county or independent board of education district, if any; and
      municipal governing authority district, if any; such other voting
      districts, if any; and precinct.”

O.C.G.A. § 21-2-226(a)-(b); see also O.C.G.A. § 21-2-215 (a) (county registrars

to be designated by chief registrar “for the purpose of taking and processing

applications for registration and for the purpose of registering electors”).

      Due to the Secretary’s statutory obligation to “maintain” the list of

registered voters pursuant to HAVA, however, Plaintiffs’ list accuracy claims

were allowed to go forward on their “asserted injuries for the Secretary’s

challenged conduct.” Doc. No. [612] at 43 (emphasis added). In other

words, Plaintiffs’ list accuracy claim was allowed to go forward to the extent

it seeks redress from the Secretary’s conduct; the Court did not, and should

not, hold that the Secretary is responsible for actions that are taken by, and

are the statutory duty of, county officials.

      This is what federal law requires. “Redressability requires that the

court be able to afford relief through the exercise of its power, not through the

persuasive or even awe-inspiring effect of the opinion explaining the exercise

of its power.” Id. at 1305, quoting Franklin v. Massachusetts, 505 U.S. 788,

825, 112 S. Ct. 2767 (1992) (Scalia, J. concurring in part and concurring in

the judgment) (emphasis in original). “Any persuasive effect a judicial order


                                        12
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 13 of 39




might have upon the [non-party counties] . . . cannot suffice to establish

redressability.” Jacobson, 974 F. 3d at 1254. Moreover, if a plaintiff sues the

wrong defendant, an order enjoining a non-party “cannot suddenly make the

plaintiff’s injury redressable.” Id. at 1255. The “failure to join the [county

officials] is an independent reason that [Plaintiffs] lack standing.” Id. at

1253.

           d. Plaintiffs lack standing because their claims, at least in part,
              constitute generalized grievances regarding election
              administration that cannot serve as bases for constitutional
              claims.

        As to Plaintiffs’ Administrative Claims, this Court lacks jurisdiction as

these claims amount to general grievances regarding election administration,

which courts have consistently held do not create constitutional claims. “A

particularized injury is one that ‘affect[s] the plaintiff in a personal and

individual way.’” Wood v. Raffensperger, 981 F.3d 1307, 1314 (11th Cir.

2020), cert. denied, 141 S. Ct. 1379 (2021) (quoting Spokeo, Inc. v. Robins, 578

U.S. 330, 339 (2016), as revised (May 24, 2016). In contrast, “[a]n injury to

the right to require that the government be administered according to the

law is a generalized grievance. [] And the Supreme Court has made clear that

a generalized grievance, ‘no matter how sincere,’ cannot support standing.

Wood at 1314. (quoting Hollingsworth v. Perry, 570 U.S. 693, 706 (2013)


                                         13
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 14 of 39




(other quotation and citation omitted). Put differently, challenges to

government acts are viewed differently than lawsuits about government

inactivity.

      Plaintiffs’ “diversion of resources” theory of injury regarding the

Administrative Claims turns this standing jurisprudence on its head.

Effectively, under Plaintiffs’ theory, any organizational plaintiff has standing

to bring a lawsuit to address an underlying alleged “burden” on voting in the

form of a generalized grievance regarding election administration, that an

actual voter could not themself bring for lack of a particularized injury. This

is a bizarre and distortion of standing and Article III jurisdiction that

elevates corporate rights over those of actual voters.

      As the Eleventh Circuit explained, “[a]lthough federal courts closely

scrutinize state laws whose very design infringes on the rights of voters,

federal courts will not intervene to examine the validity of individual ballots

or supervise the administrative details of a local election.” Curry v. Baker,

802 F.2d 1302, 1314 (11th Cir. 1986). How and how much to train county

election officers (for absentee ballot cancellation procedures or anything else)

and the Secretary’s efforts in maintaining an accurate voter registration list

are distinctly “administrative details” of elections. See also Hubbard v.

Ammerman, 465 F.2d 1169, 1176 (5th Cir. 1972) (a federal court had no

                                       14
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 15 of 39




jurisdiction in an election contest, and cautioned about the role of federal

courts in election cases).

   II.      Plaintiffs’ Claims on the Merits.

         Plaintiffs’ claims further fail on the merits because they lack evidence

to substantiate their allegations. Defendants submit and describe the

following citations to legal authority in support of their defenses on the

merits:

            a. The Anderson-Burdick analysis.

         “Under Anderson and Burdick, courts must weigh the “character and

magnitude of the burden the State's rule imposes” on the right to vote

“against the interests the State contends justify that burden, and consider

the extent to which the State's concerns make the burden necessary.”

Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997) (internal

quotation marks omitted). If the law at issue imposes a “severe burden” on

the right to vote, then it may survive only if it is “narrowly tailored” and only

if the State advances a “compelling interest.” Id. But if the law imposes only

“reasonable, nondiscriminatory restrictions,” then “a State's important

regulatory interests will usually be enough” to justify it. Id. (internal

quotation marks omitted).



                                         15
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 16 of 39




      “As the Supreme Court explained in Anderson and then in Burdick,

election laws ‘invariably impose some burden upon individual voters.’” New

Georgia Project v. Raffensperger, 976 F.3d 1278, 1280–81 (11th Cir. 2020)

(quoting Burdick, 504 U.S. at 433, 112 S.Ct. 2059). “That means strict

scrutiny is not required for every voting regulation; to say otherwise would

“tie the hands of States” as they seek “order, rather than chaos” in their

elections.” Id. (quoting Burdick, 504 U.S. at 433, 112 S.Ct. 2059). “In other

words, ‘lesser burdens . . . trigger less exacting review.’” Doc. No. [188] at 22

(quoting Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997)).

         b. Defendants’ Training and List Maintenance Efforts.

      The Secretary of State is statutorily obligated to train county election

superintendents and registrars. O.C.G.A. § 21-2-50(a)(11). This Court

recognized that the Secretary of State does not train poll workers. Doc. No.

[617] at 22-23. Georgia law provides that only election superintendents train

poll workers, and that the superintendent provide that training. Id.; see also

O.C.G.A. § 21-2-99. The Secretary is also required to “maintain the official

list of registered voters for this state and the list of inactive voters.” O.C.G.A.

§ 21-2-50.

      The Anderson-Burdick test is used to evaluate laws, regulations, and/or

rules enacted by the State and in which they possess some interest in

                                        16
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 17 of 39




maintaining. See Jacobson v. Fla. Sec'y of State, 974 F.3d 1236, 1261 (11th

Cir. 2020) (Anderson-Burdick provides “the legal standards that apply to

laws that burden the right to vote.”); see also id. (collecting cases in which

“laws” were evaluated under Anderson-Burdick by the Eleventh Circuit and

Supreme Court). It is not suited to evaluate complaints of mere election

administration or alleged failures to comply with state law. Plaintiffs’ claims

regarding training of county officials on in-person absentee-ballot

cancellation procedures and maintenance for voter-list accuracy demonstrate

this problem. These claims do not challenge a specific law, regulation, or rule

enforced by the Secretary of State; rather, they question whether Defendants’

efforts were “sufficient” or “adequate” because some voters allegedly still

experienced problems. See, e.g., Doc. No. [582] at 85 (“Defendants violated

Section 2 of the Voting Rights Act [by] . . . failing to train adequately county

elections officials on laws governing elections . . . .”) (emphasis added).

      Precedent cautions that courts must “recognize a distinction between

state laws and patterns of state action that systematically deny equality in




                                        17
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 18 of 39




voting, and episodic events” of human error. Gamza v. Aguirre, 619 F.2d 449,

453 (5th Cir. 1980). 4 As the Gamza Court explained:

      If every state election irregularity were considered a federal
      constitutional deprivation, federal courts would adjudicate every
      state election dispute, and the elaborate state election contest
      procedures, designed to assure speedy and orderly disposition of
      the multitudinous questions that may arise in the electoral
      process, would be superseded by a section 1983 gloss. Section 1983
      did not create a delictual action for the torts of state officials, and
      it did not authorize federal courts to be state election monitors.

      […]

      In the absence of evidence that the alleged maladministration of
      the local election procedures was attended by the intention to
      discriminate against the affected voters or motivated by a desire
      to subvert the right of the voters to choose their school board
      representative, we cannot conclude that the error constituted a
      denial of equal protection of the laws.

Gamza, 619 F.2d at 453–54 (citations omitted). “Unlike systematically

discriminatory laws, isolated events that adversely affect individuals are not

presumed to be a constitutional violation.” Curry v. Baker, 802 F.2d 1302,

1314 (11th Cir. 1986) (quotation omitted) (alteration in original accepted).

      Moreover, federal courts have examined much of the law in this area

after the 2020 election disputes. They have almost uniformly weighed



4In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc),
the Eleventh Circuit adopted as binding precedent all decisions of the former
Fifth Circuit handed down prior to October 1, 1981.

                                        18
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 19 of 39




against intervening in cases like this one. “[I]t is well-established that even

violations of state election laws by state officials . . . do not give rise to federal

constitutional claims except in unusual circumstances.” Donald J. Trump for

President, Inc. v. Boockvar, 493 F. Supp. 3d 331, 391 (W.D. Pa. 2020). If such

were the case, “it would transform every violation of state election law (and,

actually, every violation of every law) into a potential federal equal-protection

claim requiring scrutiny of the government's ‘interest’ in failing to do more to

stop the illegal activity. That is not how the Equal Protection Clause works.”

Bognet v. Sec’y Commonwealth of Pennsylvania, 980 F.3d 336, 355 (3d Cir.

2020), cert. granted, judgment vacated sub nom. Bognet v. Degraffenreid, 141

S. Ct. 2508 (2021) (quotations omitted).

      Courts across the country have held that “[i]t is not every election

irregularity . . . which will give rise to a constitutional claim and an action

under section 1983. Mere violation of a state statute by an election official, for

example, will not.” Hennings v. Grafton, 523 F.2d 861, 865 (7th Cir. 1975).

The Seventh Circuit, for example, recently reaffirmed its decision on this

point: “[A]llegations [of administrative misconduct] may state a claim for

violation of the [state] Election Code. But that is a state law claim for a

violation of state law, not a federal claim for a violation of constitutional

rights. A violation of state law does not state a claim under § 1983, and, more

                                         19
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 20 of 39




specifically, a deliberate violation of state election laws by state election

officials does not transgress against the Constitution.” Shipley v. Chicago Bd.

of Election Commissioners, 947 F.3d 1056, 1062 (7th Cir. 2020) (quotations

omitted). In one of the seminal cases confirming that administrative

problems in elections did not establish a constitutional claim, the Hennings

Court stated as follows:

      “[T]he record here shows at most irregularities caused by
      mechanical or human error and lacking in invidious or fraudulent
      intent; it does not show conduct which is discriminatory by reason
      of its effect or inherent nature. Voting device malfunction, the
      failure of election officials to take statutorily prescribed steps to
      diminish what was at most a theoretical possibility that the
      devices might be tampered with, and the refusal of those officials
      after the election to conduct a retabulation, assuming these events
      to have occurred, fall far short of constitutional infractions, absent
      aggravating circumstances of fraud or other wilful conduct found
      not to exist by the District Court and not shown by any evidence
      offered.

      […]

      Except for the overall supervision of the county clerk, or his
      counterpart, and appointed subordinates, the work of conducting
      elections in our society is typically carried on by volunteers and
      recruits for whom it is at most an avocation and whose experience
      and intelligence vary widely. Given these conditions, errors and
      irregularities, including the kind of conduct proved here,
      are inevitable, and no constitutional guarantee exists to
      remedy them. Rather, state election laws must be relied upon to
      provide the proper remedy.”




                                        20
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 21 of 39




Hennings, 523 F.2d at 865 (emphasis added); see also Saxon v. Fielding, 614

F.2d 78, 80 (5th Cir. 1980) (“The decisions from other circuits have clearly

indicated an unwillingness to become embroiled in suits attacking state

elections on the grounds of administrative or technical irregularities. […] We

think that this unwillingness to intervene in the absence of aggravating

factors . . . is appropriate.”) (quotation and citations omitted) (collecting

cases).

      Even if Anderson-Burdick were applied, Plaintiffs have also failed to

show an underlying unconstitutional burden on voting of any actionable

“magnitude” for purposes of an Anderson-Burdick analysis. Doc No. [617] at

25; see also Anderson v. Celebrezze, 460 U.S. 780, 789 (1983). Indeed, as the

Supreme Court has described failure to train claims as the “most tenuous” of

civil rights causes of action. Connick v. Thompson, 563 U.S. 51, 61 (2011). 5


5 In a typical failure to train claim, a plaintiff would have to show: (1) a
constitutional injury, (2) caused by the Secretary’s acts, (3) which constitute
deliberate indifference to the need to train superintendents or poll workers.
City of Canton, Ohio v. Harris, 489 U.S. 378, 389 (1989) (citation omitted).
Respondeat superior theory does not apply. Brown v. Crawford, 906 F.2d 667,
671 (11th Cir. 1990). Liability attaches “[o]nly where a failure to train reflects
a ‘deliberate’ or ‘conscious’ choice,” id., and deliberate indifference “is a
stringent standard of fault, requiring proof that a [governmental] actor
disregarded a known or obvious consequence of his action.’” Connick, 563 U.S.
at 61 (citing Bd. of Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 403 (1997)).
To be known or obvious, policymakers must be on notice of “obvious, flagrant,
rampant” and ongoing constitutional violations that existing training does not

                                        21
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 22 of 39




      As the Court has already noted, the Secretary’s obligations as to

training and voter list maintenance are set by statute and the law does not

impose constitutional liability for governments because they do not exceed

their statutory obligations. Doc. No. [617] at 22; see also cf. Gwinnett Cty.




represent. Brown, 906 F.2d at 671. Further, to be constitutionally deficient,
the challenged training must knowingly diverge from a known “accepted
standard.” See Owaki v. City of Miami, 491 F. Supp.2d 1140, 1162 (S.D. Fla.
2007); see also Eberhardinger v. City of York, 341 F. Supp. 3d 420, 430 (M.D.
Pa. 2018), aff’d 782 F. App’x 180 (3d Cir. 2019).
The Eleventh Circuit has not applied failure to train and failure to supervise
theories in the context of elections, other courts have applied Harris’s and
Connick’s test to such claims. See, e.g., Minnesota Majority v. Mansky, 708
F.3d 1051, 1060 (8th Cir. 2013); Acosta v. Democratic City Comm., CV 17-1462,
2018 WL 4178522, at *11 (E.D. Pa. Aug. 30, 2018), aff’d 767 Fed. Appx. 392 (3d
Cir. 2019); Hunter v. Hamilton Cty. Bd. of Elections, 850 F. Supp. 2d 795, 844-
46 (S.D. Ohio 2012). Failure to supervise and failure to train theories are
similar, and courts have blended the two causes of action. Kerr v. City of W.
Palm Beach, 875 F.2d 1546, 1555 (11th Cir. 1989). The Eleventh Circuit
described a failure to supervise claim as one that alleges that the (1)
“supervisor personally participates in the alleged constitutional violation or
when there is a causal connection between the actions of the supervising
official and the alleged constitutional deprivation;” and (2) the deprivations are
“widespread … obvious, flagrant, rampant and of continued duration.” Brown,
906 F.2d at 671. A plaintiff would have to show a conscious choice by a
defendant to continue a “‘policy of inaction’ in light of [such] notice.” Connick,
563 U.S. at 51 (citing Harris, 489 U.S. at 395). Liability does not attach
because a government entity could do “better or more.” Harris, 489 U.S. at
391; see also Connick, 563 U.S. at 67.
Defendants have found no other analytical framework that has been applied
in these circumstances. This Court, however, applied the Anderson-Burdick
analysis alone. Doc. No. [617] at 21-22.

                                       22
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 23 of 39




NAACP v. Gwinnett Cty. Bd. of Registration & Elections, 446 F. Supp. 3d

1111, 1123 (N.D. Ga. 2020). Moreover, the Eleventh Amendment provides a

jurisdictional defense that precludes states from being sued in federal court

on the basis of state law. See Pennhurst State Sch. & Hosp., 465 U.S. at 117.6

         c. HAVA Match Generally.

      Georgia’s voter-verification law checks a voters’ identifying information

as entered by a county registrar from a paper voter-registration application

with information on file with the Georgia Department of Driver Services

(“DDS”) or United States Social Security Administration (“SSA”), as required

by 52 U.S.C. § 21083(a)(5). See O.C.G.A. § 21-2-220.1(b). Federal and state

law require that applicants who have a Georgia driver’s license or a state ID



6 As addressed above, the Secretary’s obligations regarding training of county
election officials and maintenance of the state’s list of registered voters are set
by statute. See, e.g., O.C.G.A. §§ 21-2-50(a)(11), (14). Plaintiffs’ claims on
these issues seek nothing more than to enforce these statutes; a quintessential
prohibited “obey-the-law” injunction. See SEC v. Goble, 682 F.3d 934, 949
(11th Cir. 2012). While Defendants raised this issue at summary judgment,
the Court ultimately deferred, finding that “it is premature (at the current
state of the case) to review the precise nature of any type of injunction.” Doc.
No. [617] at 92-93. The Court did acknowledge, however, that questions
remained as to its “remedial powers in constitutional litigation.” Id. at 93-94,
n.55 (citing Democratic Executive Committee of Florida v. Lee, 915 F.3d 1312,
1331 (11th Cir. 2019) (J. Tjoflat, dissenting)). Now, as this case heads to trial
without Plaintiffs having offered anymore specificity as to the relief they seek
or how such differs from what is mandated by state law, Defendants must re-
raise this open question for the Court’s consideration.

                                        23
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 24 of 39




card include the number of that respective card on their application when

they register to vote. 52 U.S.C. § 21083(a)(5); O.C.G.A. § 21-2-220.1. When an

individual registers to vote using a paper registration form, federal law

requires the Secretary’s office to provide their information to DDS for

verification. 52 U.S.C. § 21083(a)(5)(B)(i). If an individual has no record in

the DDS database because they never had a Georgia driver’s license, their

information must be sent to the SSA for verification. Id. HAVA also requires

first-time registrants by mail to show identification prior to voting for the

first time, including utility bills, bank statements, or other government

documents that show their name and address. 52 U.S.C. § 21083(b)(2)(A).

      Georgians can register to vote through a variety of means and are still

marked as “active” even if they fail the matching process following H.B. 316.

O.C.G.A. § 21-2-220.1(b) (“In the event that the [pertinent identifying

information] provided by the person registering to vote [with a paper

application] does not match information about the applicant on file at [DDS

or SSA], the applicant shall nevertheless be registered to vote . . . .”). If there

is no match, the voter is simply registered as “Missing ID Required” or

“MIDR.” After HB 316, voters in MIDR status may vote after showing proper

identification, just like any other voter. O.C.G.A. §§ 21-2-220.1(c); 21-2-

216(g). That “proper” identification for an MIDR voter includes the same list

                                        24
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 25 of 39




as HAVA requires for first-time registrants, including utility bills, bank

statements, or other government documents that show their name and

address. O.C.G.A. § 21-2-417(c).

      Separately, an applicant may be placed in “pending” status if

information on file indicates that he or she is not a United States citizen. See

O.C.G.A. § 21-2-216(g). An applicant is placed in “pending” status if the

applicant previously provided documents to DDS affirmatively indicating

that he or she is not a United States citizen and has not updated their DDS

record since that time. See O.C.G.A. § 21-2-216(g). Similar to voters on

Active-MIDR status, an applicant placed in “pending” status may still cast a

ballot if he or she provides documentation on or before election day

establishing his or her citizenship, which includes a REAL ID, non-limited

term Georgia driver’s license, among other options. O.C.G.A. § 21-2-

216(g)(1); O.C.G.A. § 21-2-216(g)(2); SEB Rule 183-1-6-.06 (listing additional

acceptable documentation).

         d. Intentional Discrimination under the Fifteenth Amendment and
            Equal Protection Clause.

      Plaintiffs’ claims regarding HAVA Match under the Fifteenth

Amendment and Equal Protection Clause (Counts II and III) contain

allegations of intentional discrimination by Defendants. While Plaintiffs


                                      25
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 26 of 39




have no evidence of such intentional discrimination, Defendants nevertheless

submit and describe the following legal authority that may be pertinent to

the Court’s consideration of this issue.

      The Fifteenth Amendment prevents states from enacting election laws

that discriminate on the basis of color. See City of Mobile, Ala. v. Bolden, 446

U.S. 55, 61 (1980). Plaintiffs’ challenge to facially neutral laws and policies

requires evidence of (1) a disparate racial impact caused by State policies;

and (2) a “racially discriminatory purpose chargeable to the state.” Lucas v.

Townsend, 967 F.2d 549, 551 (11th Cir. 1992). As to the Equal Protection

Clause, Plaintiffs must show more than a disproportionate effect on voters of

color; they must also show evidence of discriminatory intent. Rogers v.

Lodge, 458 U.S. 613, 618 (1982); see also Democratic Exec. Comm. v. Lee, 915

F.3d 1312, 1319, n.9 (11th Cir. 2019) (distinguishing traditional equal

protection claims which require discriminatory animus from Anderson-

Burdick claims). Intent can be shown if the policy or action is “unexplainable

on grounds other than race.” Vill. of Arlington Heights v. Metro. Hous. Dev.

Corp., 429 U.S. 252, 266 (1977). “The Supreme Court cautioned that it would

be rare to find a case involving ‘a clear pattern, unexplainable on grounds

other than race” and that, ‘[a]bsent a pattern as stark as that, ...

[discriminatory] impact alone is not determinative, and the Court must look

                                       26
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 27 of 39




to other evidence.’” Greater Birmingham Ministries v. Sec'y of State for State

of Alabama, 992 F.3d 1299, 1322 (11th Cir. 2021) (quoting Vill. of Arlington

Heights, 429 U.S. at 266).

      Plaintiffs have not shown the requisite “present intent to discriminate[,]

which implies that the decisionmaker ... selected ... a particular course of

action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects

upon an identifiable group.’” Holton v. City of Thomasville Sch. Dist., 425

F.3d 1325, 1349 (11th Cir. 2005) (emphasis in original) (citations omitted).

Under such circumstances, the Eleventh Circuit considers the following

factors on intent and not just disparate impact: (1) the impact of the

challenged law; (2) the historical background; (3) the specific sequence of

events leading up to its passage; (4) procedural and substantive departures;

and (5) the contemporary statements and actions of key legislators. And,

because these factors are not exhaustive, the list has been supplemented: (6)

the foreseeability of the disparate impact; (7) knowledge of that impact, and

(8) the availability of less discriminatory alternatives. Greater Birmingham

Ministries, 992 F.3d at 1322.

      Campaign speech is not evidence of intent as to government action;

reliance on such would raise serious First Amendment concerns and require

engaging in disfavored “judicial psychoanalysis.” Washington v. Trump, 858

                                         27
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 28 of 39




F.3d 1168, 1173-74 (9th Cir. 2017) (Kozinski dissenting) (citation omitted);

see also Trump v. Hawaii, 138 S.Ct. 2392, 2418-20 (2018); compare Doc. No.

[617] at 73-74. Moreover, where the statements at issue “were not made

about the law at issue in this case [they] do not evidence discriminatory

intent behind it.” Greater Birmingham Ministries, 992 F.3d at 1323.

         e. The Voting Rights Act of 1965.

      Plaintiffs’ sole cause of action under the Voting Rights Act of 1965 is

their vote denial claim based on the HAVA Match process. Doc. No. [636] at

4 n.2. “Unlike discrimination claims brought pursuant to the Fourteenth and

Fifteenth Amendments, which require proof of both discriminatory intent and

actual discriminatory effect, the language of Section 2(a) of the VRA requires

only proof of discriminatory “results,” not of discriminatory intent.” Greater

Birmingham Ministries, 992 F.3d at 1328–29. Section 2 of the Voting Rights

Act prohibits jurisdictions from “impos[ing] or appl[ying]” any “voting

qualification or prerequisite to voting or standard, practice, or procedure . . .

which results in a denial or abridgement of the right of any citizen of the

United States to vote on account of race or color[.]” 52 U.S.C. § 10301(a). “The

essence of a Section 2 claim is that a certain electoral law, practice, or

structure interacts with social and historical conditions to cause an

inequality in the opportunities enjoyed by black and white voters to elect

                                        28
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 29 of 39




their preferred representatives.” Thornburg v. Gingles, 478 U.S. 30, 47 (1986)

(emphasis added).

      This Court has ruled that both the Gingles factors and Brnovich

guideposts are to be considered regarding Plaintiffs’ claim. Doc. No. [636] at

21. In Gingles, the Supreme Court identified a “non-exhaustive list of factors”

to consider in a “totality of the circumstances” analysis. 478 U.S. 30. These

factors include, inter alia, the “history of official discrimination in the state or

political subdivision that touched the right of the members of the minority

group to register, to vote, or otherwise to participate in the democratic

process,” the extent to which voting in the state is “racially polarized,” and

“the extent to which members of the minority group have been elected to

public office in the jurisdiction,” among others. Gingles, 478 U.S. at 37.

      Brnovich did not dispense with the Gingles factors, but did caution that

not all factors would be applicable in non-vote-dilution cases:

      [I]t is important to keep in mind that the Gingles or “Senate”
      factors grew out of and were designed for use in vote-dilution cases.
      Some of those factors are plainly inapplicable in a case involving a
      challenge to a facially neutral time, place, or manner voting rule.
      Factors three and four concern districting and election procedures
      like “majority vote requirements,” “anti-single shot provisions,”
      and a “candidate slating process.” See Gingles, 478 U.S. at 37, 106
      S.Ct. 2752 (internal quotation marks omitted). Factors two, six,
      and seven (which concern racially polarized voting, racially tinged
      campaign appeals, and the election of minority-group candidates),
      ibid., have a bearing on whether a districting plan affects the

                                        29
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 30 of 39




      opportunity of minority voters to elect their candidates of choice.
      But in cases involving neutral time, place, and manner rules, the
      only relevance of these and the remaining factors is to show that
      minority group members suffered discrimination in the past
      (factor one) and that effects of that discrimination persist (factor
      five). Id., at 36–37, 106 S.Ct. 2752. We do not suggest that these
      factors should be disregarded. After all, § 2(b) requires
      consideration of “the totality of circumstances.” But their relevance
      is much less direct.

Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2340 (2021).

      Brnovich made clear that “equal openness [to voting] remains the

touchstone” of a Section 2 claim. Id. at 2325. But “Section 2 does not impose

a ‘freewheeling disparate-impact regime.’” Veasey v. Abbott, 13 F.4th 362, 378

(5th Cir. 2021) (Ho, J. concurring) (quoting Brnovich, 141 S. Ct. at 2341).

Instead, “Section 2(b) ‘directs us to consider ‘the totality of circumstances’ ’

that ‘have a bearing on whether a State makes voting ‘equally open’ to all and

gives everyone an equal ‘opportunity’ to vote’—and not ‘the totality of just one

circumstance,’ namely, ‘disparate impact.’” Id.

      Under Brnovich, the “key requirement [of a Section 2 vote denial claim]

is that the political process leading to the nomination and election (here, the

process of voting) must be equally open to minority and non-minority groups

alike.” Id. at 2337. To that end, the Brnovich Court declined to “compile an

exhaustive list,” but did identify “several important circumstances” which

should be considered. Id. First, courts must consider the “size of the burden

                                        30
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 31 of 39




imposed by a challenged voting rule.” Id. at 2338. Plaintiffs alleging Section 2

claims cannot satisfy their burden by showing “[m]ere inconvenience,” as

“every voting rule imposes a burden of some sort.”       Id.   The concepts of

openness and opportunity relate to “the absence of obstacles and burdens that

block or seriously hinder voting.” Id. (emphasis added).

      Second, the “degree to which a [challenged] voting rule departs from

what was standard practice when § 2 was amended in 1982 is a relevant

consideration.” Brnovich, 141 S. Ct. at 2338. The analysis must take into

account the Court’s “doubt that Congress intended to uproot facially neutral

time, place, and manner regulations that have a long pedigree or are in

widespread use in the United States.” Id. at 2339.

      Third, the “size of any disparities in a rule’s impact on members of

different racial or ethnic groups is also an important factor to consider.”

Brnovich, 141 S. Ct. at 2339. This consideration requires acknowledgement

that “even neutral regulations, no matter how crafted, may result in some

predicable disparities … but the mere fact there is some disparity in impact

does not necessarily mean that a system is not equally open or that it does not

give everyone an equal opportunity to vote.” Id. For this reason, a “meaningful

comparison is essential.” Id.



                                      31
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 32 of 39




      In Brnovich, that meaningful comparison focused on racial disparities in

“absolute terms.” 141 S. Ct. at 2344-45. It considered the district court’s

findings of fact that “a little over 1%” of minority voters cast ballots outside of

their precinct, while the rate for non-minority voters was about 0.5%.” Id.

Contrary to the dissent’s analysis, the Brnovich majority did not highlight the

difference between 0.5% (white voters) and 1% (voters of color). Id. Instead,

the majority looked to the numbers in the aggregate and concluded that the

policy “work[s] for 98% or more of voters to whom it applies—minority and non-

minority alike.” 7 Id.

      Importantly, the Brnovich majority disagreed with the dissenters on this

weight of a finding of disparate impact: “The dissent … would rewrite the text

of § 2 and make it turn almost entirely on just one circumstance—disparate

impact. This is a radical project.” Id. at 2342. Thus, disparate impact is a

factor, but it is not dispositive.




7 The Court also opined on how the “use of statistics [can be] highly
misleading.” Brnovich, 141 S. Ct. at 2345. For example, “if 99.9% of whites
had photo IDs, and 99.7% of blacks did, it could be said that blacks are three
times more likely as whites to lack qualifying ID (0.3 ÷ 0.1 = 3), but such a
statement would mask the fact that the populations were effectively identical.”
Id. (quoting Frank v. Walker, 768 F.3d 744, 752, n. 3 (7th Cir. 2014)) (internal
quotation marks omitted).

                                        32
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 33 of 39




      Fourth, the Brnovich Court instructed federal courts to “consider the

opportunities provided by a State’s entire system of voting when assessing the

burden imposed by a challenged provision.” Id. at 2339 (emphasis added). In

other words, “where a State provides multiple ways to vote,” any burden

imposed by one of those available methods “cannot be evaluated without also

taking into account the other available means.” Id. at 2339.

      Fifth, “the strength of a state’s interests served by a challenged voting

rule” must also be considered. Id. Here, the Brnovich majority reaffirmed that

the prevention of fraud is a “strong and entirely legitimate state interest.” Id.

at 2340. And, “it should go without saying that a State may take action to

prevent election fraud without waiting for it to occur and be detected within

its own borders.” Id. at 2348.

      The Supreme Court also addressed what does not constitute proper

analysis under a Section 2 vote denial claim. For example, the “disparate

impact model employed in Title VII and Fair Housing Act cases [is not] useful”

when considering Section 2. Id. at 2340. Adopting such a standard would lead

to impermissible federal micromanaging of State elections. Id. The Court also

rejected the “cat’s paw” theory of liability when looking to questions of

intentional discrimination. Id. at 2349-50. That theory is typically used in

employment contests where a plaintiff “seeks to hold the plaintiff’s employer

                                       33
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 34 of 39




liable for the ‘animus of a supervisor who was not charged with making the

ultimate [adverse] employment decision.’”      Id. at 2350 (quoting Staub v.

Proctor Hosp., 562 U.S. 411, 415 (2011)). Thus, in Section 2 cases, that one

policymaker may have acted with improper intent does not mean others did;

indeed “it is insulting to suggest that they are mere dupes or tools.” Id.

   III.   Potential Evidentiary Issues.

      Plaintiffs’ documentary evidence includes numerous statements that

constitute, or contain in part, hearsay, speculation, and/or otherwise

incompetent statements offered as fact. Defendants expect to raise this issue

should Plaintiffs attempt to present such evidence at trial without the proper

foundation.

      In short, inadmissible hearsay is an “out-of-court statement, presented

for the purpose of establishing the truth of the statement’s contents, that

does not fall within an exception to the hearsay rule.” Macuba v. Deboer, 193

F.3d 1316, 1327 n.11 (11th Cir. 1999). This includes a statement that “the

declarant does not make while testifying at the current trial or hearing” and

“a party offers in evidence to prove the truth of the matter asserted in the

statement.” F.R.E. 801(c). A witness’s statements regarding another’s

actions or intent constitute inadmissible speculation if they are not based on



                                       34
        Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 35 of 39




direct knowledge or otherwise lack the required foundation to draw such

conclusions. See Fed. R. Evid. 602; Riley v. Univ. of Alabama Health Servs.

Found., P.C., 990 F. Supp. 2d 1177, 1187 (N.D. Ala. 2014) (“A party’s mere

‘belief’ and/or speculation is not based on personal knowledge . . . .”).

        The “public records” exception to the hearsay rule does not cover all

statements in documents maintained by a public office; only those that set

out (a) the office’s activities; (b) a matter observed while under a legal duty to

report, but not including, in a criminal case, a matter observed by

law-enforcement personnel; or (c) in a civil case or against the government in

a criminal case, factual findings from a legally authorized investigation; and

the Defendant does not show that the source of information or other

circumstances indicate a lack of trustworthiness. Fed. R. Evid. 803(8).

        The “learned treatise” exception to the hearsay rule requires that the

statement be “contained in a treatise, periodical, or pamphlet” and be

(a) “called to the attention of an expert witness on cross-examination or relied

on by the expert on direct examination; and … (b) established as a reliable

authority by the expert's admission or testimony, by another expert's

testimony, or by judicial notice.” Fed. R. Evid. 803(18).

        Finally, the residual hearsay exception of Fed. R. Evid. 807 requires

that:

                                        35
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 36 of 39




      (1) the statement is supported by sufficient guarantees of
      trustworthiness—after considering the totality of circumstances
      under which it was made and evidence, if any, corroborating the
      statement; [and] (2) it is more probative on the point for which it
      is offered than any other evidence that the proponent can obtain
      through reasonable efforts.”

      Rule 807 also contains a notice requirement: “[t]he statement is

admissible only if, before the trial or hearing, the proponent gives an adverse

party reasonable notice of the intent to offer the statement and its

particulars, including the declarant's name and address, so that the party

has a fair opportunity to meet it.” Id. “Given the presumption of unreliability,

and because it is not a firmly rooted hearsay exception, the residual exception

is to be used only rarely, in truly exceptional circumstances.” Fed. Trade

Comm’n v. U.S. Work All., Inc., No. 1:08-CV-2053-WSD, 2010 WL 11509130,

at *2 (N.D. Ga. Jan. 28, 2010) (quotation omitted); see also United States v.

Jayyousi, 657 F.3d 1085, 1113 (11th Cir. 2011) (“Congress intended the

residual hearsay exception to be used only in exceptional circumstances.”).




                                      36
        Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 37 of 39




                                CONCLUSION

        In accordance with the legal authority cited herein, the Court should

award Defendants a verdict in their favor as to all remaining counts in this

case.

        Respectfully submitted, this 15th day of December 2021.


                           /s/ Josh Belinfante
                           Josh Belinfante
                           Georgia Bar No. 047399
                           jbelinfante@robbinsfirm.com
                           Vincent Russo
                           Georgia Bar No. 242628
                           vrusso@robbinsfirm.com
                           Carey Miller
                           Georgia Bar No. 976240
                           cmiller@robbinsfirm.com
                           Brian Lake
                           Georgia Bar No. 575966
                           blake@robbinsfirm.com
                           Alexander Denton
                           Georgia Bar No. 660632
                           adenton@robbinsfirm.com
                           Melanie Johnson
                           Georgia Bar No. 466756
                           mjohnson@robbinsfirm.com
                           Robbins Alloy Belinfante Littlefield LLC
                           500 14th Street NW
                           Atlanta, GA 30318
                           Telephone: (678) 701-9381
                           Facsimile: (404) 856-3255

                           Bryan P. Tyson
                           Georgia Bar No. 515411
                           btyson@taylorenglish.com


                                       37
Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 38 of 39




                   Bryan F. Jacoutot
                   Georgia Bar No. 668272
                   bjacoutot@taylorenglish.com
                   Diane Festin LaRoss
                   Georgia Bar No. 430830
                   dlaross@taylorenglish.com
                   Loree Anne Paradise
                   Georgia Bar No. 382202
                   lparadise@taylorenglish.com
                   Taylor English Duma LLP
                   1600 Parkwood Circle
                   Suite 200
                   Atlanta, GA 30339
                   Telephone: 678-336-7249

                   Christopher M. Carr
                   Attorney General
                   GA Bar No. 112505
                   Brian K. Webb
                   Deputy Attorney General
                   GA Bar No. 743580
                   Russell D. Willard
                   Senior Assistant Attorney General
                   GA Bar No. 760280
                   State Law Department
                   40 Capitol Square, S.W.
                   Atlanta, Georgia 30334

                   Attorneys for Defendants




                               38
     Case 1:18-cv-05391-SCJ Document 753-7 Filed 03/25/22 Page 39 of 39




                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

ATTACHMENT H-2 DEFENDANTS’ PRELIMINARY TRIAL BRIEF

was prepared double-spaced in 13-point Century Schoolbook font, approved

by the Court in Local Rule 5.1(C).

                               /s/ Josh Belinfante
                               Josh Belinfante
